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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


KELLY PINN                                         §
                                                   §
VS.                                                §          ACTION NO. 4:23-CV-1208-Y
                                                   §
HUFSEY HOME SERVICES, INC.,                        §
et al.                                             §

                           ORDER GRANTING MOTIONS TO DISMISS


        Before the Court are motions to dismiss for failure to state

a claim filed by defendants Hufsey Home Service, Inc. (doc. 17),

and 33 Mile Radius, LLC (doc. 12). For the reasons set forth below,

the Court will grant both motions.




                                               BACKGROUND


        This case arises from alleged violations of the Telephone

Consumer Protection Act (“TCPA”).1 Plaintiff alleges that, between

November        3,     2023,      and        November   17,    2023,   she     received      five

unsolicited and automated calls from Defendants on her cell phone,

which she uses for personal and residential purposes. Plaintiff

alleges that her phone number was listed on the national “do not



        1
        All recitations of fact, unless                  cited    otherwise,   are   taken   from
Plaintiff’s original complaint (doc. 1).

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call” registry at least one year prior to receiving the calls.

Each call came from a call center identifying itself as a variation

of either “U.S. Saving Centre” or “U.S. Home Improvements.” Each

call      allegedly         came      from      a    disguised,     or   “spoofed,”   caller

identification, and at least one call originated from a number

Plaintiff later confirmed through a government website was that of

a “robocaller.”

        On one call, Plaintiff was transferred to a representative of

defendant Hufsey Home Services. After that, Plaintiff initiated

contact directly with Hufsey to inquire why she was receiving

solicitations            when      her       phone   number   was    restricted.   Hufsey’s

representative responded that Hufsey contracted with defendant 33

Mile Radius to generate sales leads but neither initiated—nor was

responsible for—calling customers itself.

        Plaintiff sued, asserting a claim under the TCPA, codified as

47 U.S.C. § 227(c)(5), and under the federal regulation it spawned,

47 C.F.R. § 64.1200(c). Plaintiff also asserts a claim under

Section 302.101 of the Texas Business and Commerce Code because

she alleges that neither defendant is a registered telephone

solicitor as required under state law.

        Defendants moved to dismiss, chiefly arguing that Plaintiff

fails to plead enough facts to connect the “spoofed” caller

identification numbers or the identities of the callers to the
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defendants themselves. (Docs. 12, at 10–14; 17, at 14–15.)




                                             LEGAL STANDARD


        To survive a motion to dismiss under Rule 12(b)(6) a plaintiff

must plead “enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007). Thus, dismissal of a complaint is appropriate if it

fails to provide fair notice of a claim and plausible factual

allegations to support it. Id.; FED. R. CIV. P. 12(b)(6). Rule

12(b)(6) is analyzed together with Rule 8(a), which calls for a

“short and plain statement of the claim showing that the pleader

is entitled to relief.” FED. R. CIV. P. 8(a)(2).

        A reviewing court must accept all well-pleaded facts as true

and view them in the light most favorable to the plaintiff. Sonnier

v. State Farm Mut. Auto. Ins. Co., 509 F.3d 673, 675 (5th. Cir.

2007). But the court need not accept conclusory statements as true.

Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009). After disregarding

any conclusory statements, a complaint must have Twombly facial

plausibility, which it has when a plaintiff pleads enough factual

content to allow the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged. Iqbal, 556

U.S., at 663. And although a plaintiff need not prove his or her
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claim at the pleading stage, the complaint must set out sufficient

facts to establish all ultimate elements of the claim asserted.

See Chhim v. Univ. of Tex. at Austin, 836 F.3d 467, 470 (5th Cir.

2016).




                                             ANALYSIS


        Defendants argue that Plaintiff fails to sufficiently allege

facts to support a plausible claim that any of the “spoofed” calls

were causally connected to them. (Docs. 12, at 13; 17, at 14.)

Accordingly, Defendants contend that Plaintiff fails to state a

claim because Plaintiff does not allege more than one actionable

call as required by the TCPA. (Id.)

        Enacted in response to a national outcry against annoying

automated telephone solicitations, the TCPA makes it unlawful for

any person “to make any call . . . using any automatic telephone

dialing system or an artificial or prerecorded voice . . . to any

telephone number assigned to a . . . cellular telephone service.”

47 U.S.C. § 227(b)(1)(A)(iii). It is also unlawful “to initiate

any telephone call to any residential telephone line using an

artificial          or    prerecorded        message    without   the   prior   express

consent of the called party.” § 227(B). But the law exempts calls

made for non-commercial purposes, § 227(b)(2)(B)(i), and delegates
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further        rulemaking            to      the   Federal   Communication       Commission

(“FCC”). See Id. The statute further creates a private right of

action for a “person who has received more than one telephone call

within any 12-month period by or on behalf of the same entity in

violation”          of    §    227     or    its   regulations   adopted    by    the   FCC.

§ 227(c)(5).

        Courts in this district have previously held that alleging

the use of an automated telephone dialing system, without more, is

insufficient to state a claim under the TCPA.                              Cunningham v.

Nationwide Security Solutions, Inc., 2017 WL 10486988, at *3 (N.D.

Tex. Nov. 2, 2017) (Lynn, J.). But courts have also observed the

difficulty plaintiffs have in pleading violations of the TCPA

without the opportunity for initial discovery. Hunsinger v. Alpha

Cash Buyers, LLC, 2022 WL 562761, at *3 (N.D. Tex. Feb. 24, 2022)

(Fitzwater, J.) (citing Cunningham, 2017 WL 10486988, at *3).

Accordingly, it has become the practice of many courts to allow

plaintiffs to rely on indirect allegations, like the similarity

among message scripts, generic messages, or other circumstantial

facts, to imply that an automated system was used in violation of

the TCPA. Id. (collecting cases).

        Here, even Plaintiff’s indirect allegations do not contain

enough facts to permit the Court to inference that Defendants used

an    automated          system.          Though   her   allegations   that      each   call
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contained a nearly identical script could imply the use of an

automated system, (doc. 1, at 5–6), she uses the term “caller” to

identify the initiating party of each call placed to her number—

which cuts against an inference that the initiating party used an

illegal         artificial         or    prerecorded   message.     (Id.)    Indeed,   her

complaint states that, on one occasion, “the caller refused to

proceed further, instead stating that Plaintiff’s number was on

the ‘do not call’ list and to ‘have a nice day.’” (Id., at 6.) On

another call, Plaintiff claims she was told that she “would receive

a call back from a local contractor.” (Id.) At the pleadings stage,

these allegations do not support an inference that the offending

callers used an automated, artificial, or prerecorded message that

would violate the TCPA.

        But more fatal for Plaintiff’s complaint is its failure to

causally connect the allegedly offending calls to the defendants

named in this suit. Plaintiff alleges that each call came from

entities identified as either “U.S. Saving Centre” or “U.S. Home

Improvements”—neither of which are named defendants here. (Doc. 1,

at 5.) She further alleges that at least three of the calls came

from a “spoofed” caller identification number. (Id., at 5–7.) But

the complaint offers no facts aside from similarity in script to

infer       a    connection           between   the    spoofed     numbers    and   these

defendants. The only pleaded call that connects the alleged offense
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to Defendants is one during which plaintiff was transferred to

defendant Hufsey Home Services from the original telemarketer

(Id., at 7), which implies that Hufsey did not independently place

the call. Even taking Plaintiff’s allegation as true that Hufsey

could be vicariously responsible for the call, she thereforep fails

to plead more than one actionable call as required to assert a

private right of action.

        Accordingly, Plaintiff has failed to plead enough facts to

state a plausible claim that Hufsey Home Services or 33 Mile Radius

either: (1) used an automated system in violation of the TCPA; or

(2) were responsible for spoofing the phone numbers Plaintiff

alleges offended the law.

        Having disposed of Plaintiff’s federal claim under the TCPA,

only her claim under section 302.101 of the Texas Business and

Commerce         Code      remains.          The   Court   will   decline   to   exercise

supplemental jurisdiction over that claim. See 28 U.S.C. § 1367(c);

Role Models of Am., Inc. v. Penmar Dev. Corp., 394 F.Supp.2d 121,

136 (D.D.C. Oct. 5, 2005) (reaffirming that district courts have

discretion to reject supplemental jurisdiction over a state-law

claim where all federal claims have been dismissed or otherwise

resolved). Accordingly, Plaintiff’s remaining state-law claim will

be dismissed without prejudice.



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                                              CONCLUSION


        Because Plaintiff’s complaint fails to plead enough facts to

make plausible two essential elements of her claim under the TCPA,

Defendants’           motions        to      dismiss   (docs.   12;   17)   are   GRANTED.

Plaintiff’s claims under the TCPA are DISMISSED with prejudice,

and her claim under Section 302.101 of the Texas Business and

Commerce Code is DISMISSED without prejudice to its being refiled

in an appropriate state court.

        SIGNED June 4, 2024.

                                                       ____________________________
                                                       TERRY R. MEANS
                                                       UNITED STATES DISTRICT JUDGE




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